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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION


  JENNIFER SMITH,

        Plaintiff,

        v.

  FLORIDA AGRICULTURAL &
  MECHANICAL UNIVERSITY
  BOARD OF TRUSTEES; ALLYSON                   Case No. 6:24-cv-457-PGB-RMN
  WATSON; DENISE D. WALLACE;
  LATONYA BAKER; LATRECHA
  SCOTT; RICA CALHOUN; GRAY
  ROBINSON, P.A.; JULIE ZOLTY;
  RICHARD E. MITCHELL; and
  SARAH REINER,

        Defendants.


                                    ORDER

       This    cause   comes    before   the   Court    for   consideration   on

 Defendant Florida Agricultural & Mechanical University Board of Trustees’

 Motions for Protective Order (Dkts. 116, 117, 118), each filed July 18, 2024.

 The Court held a hearing on August 13, 2024, where it granted in part the

 Motion at docket entry 116, and then took the remaining issues in docket entry

 116 and the entirety of the Motions at docket entries 117 and 118 under

 advisement. Dkts. 140, 145. The Court held a second hearing on August 20,

 2024 (“Hearing”). Dkt. 156. For the reasons stated on the record at the Hearing,
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 the Motion for Protective Order at docket entry 116 is due to be granted, the

 Motion for Protective Order at docket entry 118 is due to be granted in part

 and the remainder taken under advisement, and the Motion for Protective

 Order at docket entry 117 is due to be taken under advisement. Another

 hearing will be set via separate notice regarding the remaining issues in the

 Motions for Protective Order (Dkts. 117, 118).

       Accordingly, it is ORDERED:

       1.    Defendant Florida Agricultural & Mechanical University Board of

 Trustees’ Motion for Protective Order (Dkt. 116) is GRANTED in part;

             a.    Defendant’s request to be relieved from responding to

       Interrogatory 8 is GRANTED in part;

             b.    Defendant shall respond to Interrogatory 8, as narrowed at

       the Hearing on or before September 19, 2024;

             c.    Defendant’s request to be relieved from responding to

       Interrogatory 10 is GRANTED in part;

             d.    Defendant shall respond to Interrogatory 10, as narrowed at

       the Hearing on or before September 19, 2024;

             e.    The remainder of the Motion (Dkt. 116) is DENIED as

       moot;

       2.    Defendant Florida Agricultural & Mechanical University Board of

 Trustees’ Motion for Protective Order (Dkt. 118) is GRANTED in part;


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             a.   Defendant’s request to be relieved from responding to

 Request for Production 17 is GRANTED in part;

             b.   Defendant shall respond to Request for Production 17, as

 narrowed at the Hearing on or before September 19, 2024;

             c.   Defendant’s request to be relieved from responding to

       Request for Production 19 is GRANTED in part;

             d.   Defendant shall respond to Request for Production 19, as

       narrowed at the Hearing on or before September 19, 2024;

             e.   Defendant’s request to be relieved from responding to

       Request for Production 28 is GRANTED in part;

             f.   Defendant shall respond to Request for Production 28, as

       narrowed at the Hearing on or before September 19, 2024;

             g.   Defendant’s request to be relieved from responding to

       Request for Production 30 is GRANTED in part;

             h.   Defendant shall respond to Request for Production 30, as

       narrowed at the Hearing on or before September 19, 2024;

             i.   Defendant’s request to be relieved from responding to

       Request for Production 72 is taken under advisement;

             j.   The parties shall file supplemental briefing regarding

       Request for Production 72 in no more than four pages, on or before

       September 6, 2024;


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              k.     Defendant’s request to be relieved from responding to

       Request for Production 74 is GRANTED in part;

              l.     Defendant shall respond to Request for Production 74, as

       narrowed at the Hearing on or before September 19, 2024;

              m.     Defendant’s request to be relieved from responding to

 Requests for Production 3, 4, 16, 35, 67, 68, and 75 are DENIED as moot;

       3.     Defendant Florida Agricultural & Mechanical University Board of

 Trustees’ Motion for Protective Order (Dkt. 117) is taken under advisement;

 and

       4.     The Court declines to award costs or fees to either party and

 continues the hearing on the matters taken under advisement. The hearing

 will be set after the parties submit a notice containing three dates in which

 they are available.

       DONE and ORDERED in Orlando, Florida, on August 20, 2024.




 Copies to:

 Counsel of Record



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